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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF MISSISSIPPI
                                   SOUTHERN DIVISION

 QJR, LLC                                                                              PLAINTIFF

 VERSUS                                           CIVIL ACTION NO. 1:24-CV-383-TBM-RPM

 SECURIX, LLC et al                                                                DEFENDANTS


                               ORDER RESTRICTING ACCESS

       This matter is before the Court on Defendants’ motion to seal exhibit such that the exhibit

can be viewed only by the Court and the parties to the litigation. Doc. [13]. Defendants move to

seal Exhibit A to their Notice of Filing State Court Record. Defendants argue the exhibit should

be sealed because the Chancery Court of Jackson County entered an order sealing the entire state

court record. The Court finds the motion to seal should be granted at this time. However, the

Court reserves ruling on whether to permanently restrict access to the exhibits. See Binh Hoa

Lee v. Exeter Fin. Corp., 990 F.3d 410, 417 (5th Cir. 2021); Casa Orlando Apartments, Ltd. v.

Fed. Nat’l Mortg. Ass’n, 624 F.3d 185, 201 (5th Cir. 2010) (when determining whether to seal

documents, the district court balances the privacy interest against public’s right to access).

       IT IS THEREFORE ORDERED AND ADJUDGED that Defendants’ [13] Motion to

Seal is GRANTED such that Exhibit A to Defendants’ Notice [12] may be filed under seal from

public access only, with CM/ECF access permitted to the Court and litigants’ counsel.

L.U.Civ.R. 79(e)(3)(B)(2).

       SO ORDERED AND ADJUDGED, this the 7th day of January 2025.

                                                      /s/ Robert P. Myers, Jr.
                                                      ROBERT P. MYERS, JR.
                                                      UNITED STATES MAGISTRATE JUDGE
